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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re:                                                    )                 In Proceedings Under
                                                           )                 Chapter 13
 KENNETH LOHMAN                                            )
 DARLENE LOHMAN,                                           )
                                                           )                 No. 19-40060
          Debtors.                                         )

                                                 ORDER

          THIS cause comes before the Court Sua sponte. The Trustee filed an Objection to

the Notice of Post-petition Mortgage Fees and Expenses of Caliber Home Loans, Inc. on

August 1, 2019 (Doc. #34). Caliber Home Loans, Inc. filed an Amended Notice on

August 8, 2019.

          WHEREFORE IT IS HEREBY ORDERED that the Trustee’s Objection to the

original Notice of Post-petition Mortgage Fees and Expenses (Doc.#34) is

OVERRULED as MOOT. The hearing scheduled for September 9, 2019 is

CANCELLED.

          Counsel for the moving party shall serve a copy of this Order by mail to all

interested parties who were not served electronically.

ENTERED: August 9, 2019
                                                          /s/ Laura K. Grandy
                                       _____________________________________________________________________________________________________________


                                        UNITED STATES BANKRUPTCY JUDGE/6
